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                                                          U.S. DST
            IN THE UNITED STATES DISTRICT COURT FOR
               THE SOUTHERN DISTRICT OF GEORGIA     202FEB29 AHIO:39
                       SAVANNAH DIVISION

KENNETH RMON SANDERS,
                                                        CLZ   $ ;;_^ -i^)'lo^77 7^ ^
     Petitioner,

V.                                       CASE NOS. CV409-197
                                                    CV4 95-123
UNITED STATES OF AMERICA,

     Respondent.


                             ORDER

     Before the Court is the Magistrate Judge's Report and

Recommendation, to which no objections have been filed.

(Doc. 35.) After a careful de novo review of the record,

the report and recommendation is ADOPTED as the Court's

opinion in this case. As a result, Petitioners Motion to

Dismiss (Doc. 34) is GRANTED and his 28 U.S.C. § 2255

Petition (Doc. 23) is DISMISSED WITH PREJUDICE, The Clerk

of Court is DIRECTED to close this case.
                            Od
     50 ORDERED this ,2day of February 2012



                                  WILLIAM T.
                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA
